 1                                        Exhibit A

 2                                       Certification

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 1   CRAVATH, SWAINE & MOORE LLP                       KELLER & BENVENUTTI LLP
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 7   Attorneys for Debtors
     and Debtors in Possession
 8
                                 UNITED STATES BANKRUPTCY COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
10
      In re:                                               Bankruptcy Case No. 19-30088 (DM)
11
      PG&E CORPORATION,                                    Chapter 11
12                                                         (Lead Case)
13             - and -                                     (Jointly Administered)

14    PACIFIC GAS AND ELECTRIC                             CERTIFICATION OF PAUL H. ZUMBRO
      COMPANY,                                             IN SUPPORT OF SECOND INTERIM FEE
15                                                         APPLICATION OF CRAVATH, SWAINE
                              Debtors.                     & MOORE LLP FOR ALLOWANCE AND
16
                                                           PAYMENT OF COMPENSATION AND
17     Affects PG&E Corporation                           REIMBURSEMENT OF EXPENSES FOR
       Affects Pacific Gas and Electric Company           THE PERIOD JUNE 1, 2019 THROUGH
18     Affects both Debtors                               AND INCLUDING SEPTEMBER 30, 2019

19    * All papers shall be filed in the Lead Case
      No. 19-30088 (DM).
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     I, Paul Zumbro, hereby certify that:
 1
                    1.     I am a partner with the applicant firm, Cravath, Swaine & Moore LLP
 2
     (“Cravath”), and involved in Cravath’s representation of PG&E Corporation and Pacific Gas and
 3
     Electric Company (collectively, the “Debtors”) in connection with the above-referenced chapter 11
 4
     cases (the “Chapter 11 Cases”). I am familiar with the Order Pursuant to 11 U.S.C. §§ 105(a) and
 5
     331 Establishing Procedures for Interim Compensation and Reimbursement of Expenses of
 6
     Professionals [Docket No. 701] (the “Interim Compensation Order”), the Guidelines for
 7
     Compensation and Expense Reimbursement of Professionals and Trustees for the Northern District of
 8
     California, dated February 19, 2014 (the “Local Guidelines”), the U.S. Trustee Guidelines for
 9
     Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.
10
     § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013 (the “U.S. Trustee
11
     Guidelines”), the revised Fee Examiner Protocol for Chapter 11 Cases of PG&E Corporation and
12
     Pacific Gas and Electric Company [Docket No. 4473-1] filed on October 24, 2019 (the “Revised
13
     Protocol,” and, together with the Local Guidelines and the U.S. Trustee Guidelines, the “Fee
14
     Guidelines”) and the Order Granting Fee Examiner’s Motion to Approve Fee Procedures [Docket
15
     No. 4770] entered on November 15, 2019 (the “Fee Procedures Order”).
16
                    2.     This Certification is made in connection with Cravath’s Second Interim Fee
17
     Application, dated November 18, 2019 (the “Application”), for interim compensation and
18
     reimbursement of expenses for the period commencing June 1, 2019 through and including September
19
     30, 2019 (the “Compensation Period”).
20
                    3.     Pursuant to the Local Guidelines, I certify that:
21

22                                a. I have read the Application;

23                                b. To the best of my knowledge, information and belief
                                  formed after reasonable inquiry, except as set forth in
24                                the Application, the fees and disbursements sought fall
25                                within the Local Guidelines; and

26                                c. The fees and disbursements sought are billed at rates
                                  in accordance with those generally charged by Cravath
27                                and generally accepted by Cravath’s clients.
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 1                  4.     I certify that the Debtors, counsel for each of the Official Committees and the

 2   U.S. Trustee are each being provided with a copy of the Application in accordance with the Interim

 3   Compensation Order.

 4                  5.     Exhibit B to the Application compares the blended hourly rate billed by

 5   attorneys and paraprofessionals in Cravath’s New York office (its sole domestic office) to all matters

 6   during the preceding year on a rolling 12 months year ending September 30, 2019 with the blended

 7   hourly rate billed by attorneys and paraprofessionals to the Debtors in connection with the Chapter 11

 8   Cases during the Compensation Period. Cravath does not charge a premium for bankruptcy related

 9   services as compared to other services.

10                  6.     Cravath responds to the questions identified in the U.S. Trustee Guidelines as

11   follows:

12                  Question: Did you agree to any variations from, or alternatives to, your standard or
                    customary billing rates, fees or terms for services pertaining to this engagement that
13
                    were provided during the application period? If so, please explain.
14
                    Response: No.
15
                    Question: If the fees sought in this fee application as compared to the fees budgeted
16                  for the time period covered by this fee application are higher by 10% or more, did
17                  you discuss the reasons for the variation with the client?

18                  Response: N/A.

19                  Question: Have any of the professionals included in this fee application varied their
                    hourly rate based on the geographic location of the bankruptcy case?
20

21                  Response: No.

22                  Question: Does the fee application include time or fees related to reviewing or
                    revising time records or preparing, reviewing, or revising invoices? (This is limited to
23                  work involved in preparing and editing billing records that would not be compensable
                    outside of bankruptcy and does not include reasonable fees for preparing a fee
24                  application.). If so, please quantify by hours and fees.
25
                    Response: This Application includes time and fees related to reviewing or revising
26                  time records and preparing, reviewing or revising invoices, as well as preparing the
                    Retention Application and monthly fee statements. Approximately 1,574.40 hours
27                  were spent on such work under the task code “CRAV”, generating approximately
                    $950,685.00 in fees sought in this Application, which amounts include the
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                  1,216.20 hours and $650,264.50 in associated fees described in the question
 1                immediately below. The fees under the task code “CRAV” represent less than 2.7%
 2                of the fees sought in this Application. Such fees are reasonable in light of the scope
                  and complexity of Cravath’s work on behalf of the Debtors and are compensable in
 3                these Chapter 11 Cases.

 4                Question: Does this fee application include time or fees for reviewing time records
                  to redact any privileged or other confidential information? If so, please quantify by
 5
                  hours and fees.
 6
                  Response: Yes. Approximately 1,216.20 hours were spent on such work, generating
 7                approximately $650,264.50 in fees sought in this Application. Such fees represent
                  less than 1.9% of the aggregate fees sought in this Application.
 8
                  Question: If the fee application includes any rate increases since retention:
 9

10                Response: No. Certain attorneys and paraprofessionals’ hourly rates were subject to
                  a step increase during the Compensation Period, reflecting a change in seniority. This
11                is consistent with Cravath’s customary hourly rate structure and should not be
                  considered a “rate increase” as the term is used in the U.S. Trustee Guidelines.
12
                  i. Did your client review and approve those rate increases in advance?
13

14                ii. Did your client agree when retaining the law firm to accept all future rate
                  increases? If not, did you inform your client that they need not agree to modified rates
15                or terms in order to have you continue the representation, consistent with ABA
                  Formal Ethics Opinion 11–458?
16

17                Response: The client was notified at the outset of the engagement that Cravath’s
                  hourly rates are reviewed and revised from time to time.
18

19   Dated: November 18, 2019
20   New York, New York
21                                                     /s/ Paul H. Zumbro
22                                                      Paul H. Zumbro
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